Case 1:24-cr-00042-DLF Document 59 Filed 09/30/24 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA ; Crim. No. 24-cr-00042 (DLF)
v.
MARCUS SMITH,
Defendant.

VERDICT FORM

Count One: Destruction of Government Property with damage exceeding $1,000

X

Guilty Not Guilty

If you find the defendant not guilty of Count One, then proceed to Count One (a). If you
find the defendant guilty of Count One, then skip Count One (a) and proceed to Count
Two.

Count One (a): Destruction of Government Property with damage not exceeding $1,000

Guilty Not Guilty

Count Two: Entering or Remaining in a Restricted Building or Grounds

Xx

Guilty Not Guilty

Count Three: Disorderly and Disruptive Conduct in a Restricted Building or Grounds

X

Guilty Not Guilty

Count Four: Engaging in Physical Violence in a Restricted Building or Grounds

X

Guilty Not Guilty

Count Five: Disorderly Conduct in a Capitol Building

X

Guilty Not Guilty

Case 1:24-cr-00042-DLF Document 59 Filed 09/30/24 Page 2 of 2

Count Six: Act of Physical Violence in the Capitol Grounds or Building

A -

Guilty Not Guilty

Count Seven: Parading, Demonstrating, or Picketing in a Capitol Building

Xo

Guilty

Not Guilty

Date: September§D, 2024

